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CORP., )
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P\aintiff, ) ease No. 2:05€\/243&8!1/14$. DETR¥CTCOIBT
v. ) WAJ OF TN, MEMPH\S
)
HART’S MANUFACTURING Co., lNC. )
afb/a HART FURNITURE )
)
Defendants. )

 

ORDER GRANTING REQUEST FOR ENTRY OF DEFAULT

 

Upon the Motion for Entry of Default, entered on August 9, 2005, entry of DEFAULT
IS HEREBY GRANTED against the defendant, Hart’s Manufacturing Co. lnc. pursuant to
FRCP 5 5(a).

On August 8, 2005, this Court filed the summons returned executed to Hart’s Manufacturing,
Co. lnc. as executed on J unc 16, 2005. Defendant had twenty days within which to answer or
otherwise plead. Defendant Hart’s Manufacturing Co. Inc. has failed to plead or otherwise defend
as provided by the Federal Rules of CiVil Procedure.

ln compliance with Rule 55(a), FRCP., plaintiffs motion for entry of default against the
above-named defendant is GRANTED. In accordance to Rule 55(0) for good cause shown, the court
may set aside an entry of default

Entered this 9th day of August, 2005.

THOMAS M. GOULD

17 [fi)e¥uty Clerk J

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02433 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Thomas F. Barnett

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

